
718 S.E.2d 146 (2011)
STATE of North Carolina
v.
Tracy Keith RIDDICK.
No. 263P11.
Supreme Court of North Carolina.
October 6, 2011.
Sue Genrich Berry, Wilmington, for Riddick, Tracy Keith.
Kathleen M. Waylett, Special Deputy Attorney General, for State of North Carolina.
Seth Edwards, District Attorney, for State of North Carolina.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Defendant on the 22nd of June 2011 in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the State of NC, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 6th of October 2011."
Upon consideration of the petition filed on the 22nd of June 2011 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 6th of October 2011."
